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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

LAVATO SMITH,                            )
                                         )
              Plaintiff,                 )
                                         )     Civil Action File No.:
v.                                       )
                                         )
VIGNESH THEETHARAPPAN and                )
DOORDASH, INC.,                          )
                                         )
              Defendants.                )
                                         )

                            NOTICE OF REMOVAL

       COMES NOW defendant DoorDash, Inc. (“DoorDash”) and files this

Notice of Removal pursuant to 28 U.S.C. §§ 1332, 1441, and 1446, respectfully

showing this Court the following:

                                        1.

       On September 29, 2021, plaintiff Lavato Smith filed suit against Defendants

DoorDash and Vignesh Theetharappan in the State Court of Fulton County, State

of Georgia. A copy of the complaint and summons is attached hereto as Exhibit

“A.”
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                                            2.

      In his Complaint, Plaintiff seeks to recover for personal injuries allegedly

sustained as a result of a motor vehicle accident that occurred on or about

December 3, 2020 on Northside Circle NW in Atlanta, Fulton County, Georgia.

                                            3.

      Plaintiff’s complaint alleges he “suffered bodily injuries, emotional

injuries, and medical expenses” and “will incur future special and general

damages in amounts to be proven at trial” (Exhibit A, Complaint ¶¶ 14-15).

Plaintiff has also asserted claims for punitive damages pursuant to O.C.G.A. §

51-12-5.1 (Exhibit A, Complaint ¶ 30). Although Plaintiff’s complaint does not

allege a specific amount of damages, Plaintiff sent Defendants a settlement

demand before filing suit in which he alleged special damages totaling

$44,965.09. A true and correct copy of Plaintiff's pre-suit settlement demand is

attached hereto as Exhibit “B.”

                                            4.

      Accordingly, it is fair and reasonable to conclude that the amount in

controversy exceeds $75,000 based on “reasonable deductions, reasonable

inferences, [and] other reasonable extrapolations.” Pretka v. Kolter City Plaza II,

Inc., 608 F.3d 744, 754 (11th Cir. 2010).




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                                         5.

      Under 28 U.S.C. § 1446(c), a defendant may file a notice of removal within

thirty days of receipt through service or otherwise of an amended, pleading,

motion, order, or other paper from which it first may be ascertained that the case

is or has become removable. 28 U.S.C. § 1446(b)(3).

                                         6.

      “Other paper” is defined as any other document that is part and parcel of

the State Court proceedings and has its origin and existence by virtue of the State

Court processes. In general, to constitute “other paper,” the paper must result

from the voluntary act of plaintiff to give the defendant notice of the

circumstances that support federal jurisdiction. Items that have been held by

courts to constitute “other paper” include correspondence between parties

identifying damages and losses suffered by plaintiff, depositions, discovery

responses, settlement agreements, and offers of judgment. Cameron v. Teeberry

Logistics, LLC, 920 F. Supp. 2d 1309 (N.D. Ga. 2013); Bramlett v. Majric, 2012 U.S.

Dist. LEXIS 133925 (N.D. Ga. 2012); Golden Apple Management Co. v. GEAC

Computers, Inc., 990 F. Supp. 1364, 1368 (M.D. Ala. 1997); Wilson v. GMC, 888 F. 2d

779 (11th Cir. 1989).

                                         7.

      The thirty-day removal period does not begin to run until a defendant has


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been formally served with process. Murphy Bros. v. Michetti Pipe Stringing, Inc.,

526 U.S. 344, 347 (1999).

                                          8.

      Defendant DoorDash was served with process on October 1, 2021.

                                          9.

      Defendant’s Notice of Removal is timely and the matter and amount in

controversy requirement of 28 U.S.C. § 1332 is satisfied.

                                          10.

      According to Plaintiff’s complaint, he is a resident and citizen of the State

of Georgia. (Exhibit A, Complaint ¶ 1).

                                          11.

      Upon information and belief, Defendant Vignesh Theetharappan is a

natural person residing at 351 West 48th Street, Apt. 3A, New York, NY 10036, as

shown by the Affidavit of Personal Service upon Defendant Vignesh

Theetharappan, a copy of which is attached as Exhibit “C”. Defendant Vignesh

Theetharappan’s citizenship is therefore established in the State of New York for

diversity of citizenship purposes. See 28 U.S.C. § 1332.

                                          12.

      Defendant DoorDash is a Delaware corporation with a principal place of

business in San Francisco, California, as shown by the entity’s corporate entry


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with the Delaware Secretary of State, a copy of which is attached as Exhibit “D”.

Defendant DoorDash’s citizenship is therefore established in the State of

Delaware and State of California for diversity of citizenship purposes. See 28

U.S.C. § 1332(c) (providing that a corporation is deemed to be a citizen of every

state in which it was incorporated, as well as the state in which it maintains its

principal place of business).

                                         13.

      This Court has diversity jurisdiction over the suit under 28 U.S.C. § 1332

because (1) Plaintiff and Defendants are citizens of different states; and (2) the

amount in controversy exceeds $75,000, exclusive of interests and costs.

                                         13.

      Attached hereto as Exhibit “E” and made a part hereof by reference is a

true copy of the Notice of Removal filed by Defendant DoorDash in the State

Court of Fulton County, Georgia.

                                         14.

      Attached hereto as Exhibit “F” are copies of all pleadings filed in the State

Court of Fulton County, Georgia.

      WHEREFORE, Defendant DoorDash prays that the case be removed to the

United States District Court for the Northern District of Georgia, Atlanta

Division.


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      This the 1st day of November, 2021.

                                      SWIFT, CURRIE, McGHEE & HIERS, LLP

                                      /s/ Lucy Aquino
                                      ________________________________
                                      Terry O. Brantley
                                      Georgia Bar No. 078361
                                      Lucy Aquino
                                      Georgia Bar No. 114433
                                      Attorneys for DoorDash, Inc.

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                 CERTIFICATION PURSUANT TO L.R. 7.1D

      Pursuant to Northern District of Georgia Local Rule 5.1C, the undersigned

counsel for Defendant hereby certifies that the above and foregoing submission is

a computer document prepared in Book Antiqua (13 point) font and in accordance

with Local Rule 5.1C.

      This the 1st day of November, 2021.

                                      SWIFT, CURRIE, McGHEE & HIERS, LLP

                                      /s/ Lucy Aquino
                                      ________________________________
                                      Terry O. Brantley
                                      Georgia Bar No. 078361
                                      Lucy Aquino
                                      Georgia Bar No. 114433
                                      Attorneys for DoorDash, Inc.

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                                  CERTIFICATE

      Defendant DoorDash in the case of Lavato Smith v. Vignesh Theetharappan
and DoorDash, Inc., Civil Action File No. 21EV005821 in the State Court of Fulton
County, Georgia, have given notice of the filing of the foregoing notice of removal
to Plaintiff Lavato Smith, and his attorneys, by electronically serving a copy of the
notice to Norman M. Sawyer, Jr., Esq., SAWYER INJURY LAW, LLC, 49C Lenox
Pointe NE, Atlanta, GA 30324 (norm@sawyerinjurylaw.com) and to David M.
Glustrom, Esq., GLUSTROM LAW, LLC, 225 Peachtree Street NE, Suite 1945,
Atlanta, GA 30303 (david@glustromlaw.com), and have filed a copy of the Notice
of Removal with the Clerk of the State Court of Fulton County, Georgia, in
accordance with the provisions of Title 28, United States Code, § 1446, Judiciary
and Judicial Procedure, as amended. The undersigned, Lucy Aquino, attorney for
Defendant DoorDash, hereby certifies to the truthfulness and correctness of the
above statement.
This 1st day of November, 2021.         SWIFT, CURRIE, McGHEE & HIERS, LLP

                                        /s/ Lucy Aquino
                                        ________________________________
                                        Terry O. Brantley
                                        Georgia Bar No. 078361
                                        Lucy Aquino
                                        Georgia Bar No. 114433
                                        Attorneys for DoorDash, Inc.

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                          CERTIFICATE OF SERVICE

      Undersigned counsel hereby certifies that she has filed the foregoing

Notice of Removal with the Clerk of Court using the CM/ECF-GA e-file and

serve system which will send email notification of said filing to the following

attorneys of record:

      Norman M. Sawyer, Jr.                        David M. Glustrom
    SAWYER INJURY LAW, LLC                       GLUSTROM LAW, LLC
       49C Lenox Pointe NE                         225 Peachtree St. NE
         Atlanta, GA 30324                              Suite 1945
    norm@sawyerinjurylaw.com                        Atlanta, GA 30303
       Attorney for the Plaintiff                david@glustromlaw.com
                                                  Attorney for the Plaintiff

        Vignesh Theetharappan                      Jason B. Schwartz
       351 W. 48th Street, Apt 3A         STRICKLAND & SCHWARTZ, LLC
         New York, NY 10035               2200 Century Parkway NE, Ste. 1050
           Pro se Defendant                        Atlanta, GA 30345
                                           Attorney for Country Casual Ins. Co.
                                              jbs@stricklandschwartz.com

                                                    Bryan Hausner
                                              Worsham, Corsi, Dobur & Berss
                                                    P.O. Box 674027
                                                   Marietta, GA 30006
                                                GAEfile@Progressive.com
      This 1st day of November, 2021.

                                SWIFT, CURRIE, McGHEE & HIERS, LLP

                                By:   /s/ Lucy Aquino
                                      Terry O. Brantley
                                      Georgia Bar No. 078361
                                      Lucy Aquino
                                      Georgia Bar No. 114433
                                      Attorneys for DoorDash, Inc.

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